       Case 1-23-43812-nhl        Doc 38     Filed 02/27/25     Entered 02/27/25 13:40:12



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                                                       February26, 2025

    Hugh Shull, Esq., Senior Counsel
    NYC LawDepartment
    Tax andBankmptcy LitigationDivision
    100 Church Street
    New York, New York 10007

                  In re 143-30SanfordAveLLC
                  Chapter 7
                  Case No. : 23-43812-nh1

    Dear Mr. Shull:

          I write on behalf ofLori Lapin Jones, the Chapter 7 Tmstee ("Trustee") of the estate of
    143-30 SanfordAve LLC ("Debtor").

            On or about August 8, 2024, a proof of claim was filed by the NYC Office of
    Administrative Trials & Hearings in the amount of $98, 897. 83 as a partially-secured claim
    ('"Claim 3").

            In connection with the Trustee's closing on the sale of the Debtor's real property, the
    Tmstee paid the agreed-upon sum of $32, 018. 32 in satisfaction of the secured portion of Claim
    3. As a result. Claim 3 should be reduced, reclassified and allowed as a general unsecured claim
    in the amount of$66,879.51. Ifthis is consistentwithyour understanding,kindly return a signed
    copy ofthis letter to my attention so that I can file it with the Court.

           Thankyou.

                                                       Sincerely,
                                                               ^^^^L-
                                                       Holly R. Holecek

   AGREEDAND CONSENTEDTO REDUCE,RECLASSIFYAND ALLOWCLAIM3 IN
   THE AMOUNT OF $66, 879. 51:



   Hu h Shull, sq.. Senior Counsel
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